      CASE 0:10-cr-00062-DSD-JJK    Doc. 147    Filed 09/01/10    Page 1 of 1



                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                    Criminal No. 10-62(1)(DSD/JJK)

United States of America,

                  Plaintiff,

v.                                                               ORDER

Benjamin Garduwar Karbedeh,

                  Defendant.


      The above matter comes before the court upon the Report and

Recommendation of United States Magistrate Judge Jeffrey J. Keyes

dated August 11, 2010. No objections have been filed to the Report

and   Recommendation     by   defendant    Karbedeh    in   the     time   period

permitted.      Based    on   the   Report     and   Recommendation        of   the

magistrate judge, on all of the files, records and proceedings

herein, the court now makes and enters the following order:

      IT IS HEREBY ORDERED that:

      1.     Defendant Karbedeh’s Pretrial Motion for Severance of

Defendants (Doc. No. 69) is denied;

      2.     Defendant   Karbedeh’s       Pretrial     Motion      to    Suppress

Statements, Admissions and Answers (Doc. No. 72) is denied.


Dated:     September 1, 2010

                                           s/David S. Doty
                                           David S. Doty, Judge
                                           United States District Court
